
98 N.Y.2d 644 (2002)
VIOLA PIOTROWSKI et al., Appellants,
v.
DILIP J. PATEL, M.D., Respondent, et al., Defendants. (Appeal No. 1.)
Court of Appeals of the State of New York.
Submitted March 18, 2002.
Decided May 2, 2002.
Motion, insofar as it seeks leave to appeal from the Appellate *645 Division order affirming the judgment, dismissed as untimely (see CPLR 5513 [b]); motion, insofar as it seeks leave to appeal from the Appellate Division order denying reargument, dismissed upon the ground that such order does not finally determine the action within the meaning of the Constitution.
